Case 4:22-cv-00098-BMM Document 3 Filed 10/13/22 Page 1of1

| (Anite States Dis tured Court

for os cuision of i Lovie butt A Ie Devisien

Dee LORE COUNTY OP leis and Clark
Cp -da-98 -TS- OMK

~ Case No.
Kenneth Flynn ae Plaintiff,
5 Ce Sh er lock Storage

 

 

   

NOTICE OF LIS PENDENS

 

 

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Holly Mohorocec eH) Defendant. OCT {
8 Trug hee ee the Mark Mokervcic Lerevocable C 3 2029
Tits 11 Et-Ay) Disney 8. Coy
Missot,0 “Wo nfaiis
ARS, $ 12-91 (A) secu Bona
10 Pursuant to A.R.S. § 12-119 Notice is hereby given that, ‘
11 1. , *An action has been commenced in the above-entitled court by the above-named Plaintiff
12] againgt the naniéd Defendant which action is now pending. -
13 2. Plaintiff has reason to believe that the Defendant may own or have some interest in the

14] property which may be subject to judgment and execution by reason of the within cause, and that such

Zt 03 Bees Lalasten stig RK Miscoule, WE Sefoy
154 property is located at | (property address), eR and more particularly described as follows:

[ Legal Description ]{4#/ »f Owen Minor Sub davis ion 9 plated * *
17 SubLuvisron in te City or W1r8¢ bale | Mom tang,
i 3. The nature and object of the actions is: Mass vule Count, Mm vn tana

Uw law ful fireelosure Acttsn

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20 4. The relief sought by Plaintiff in the action is: 8 M1 Mion Dz lars
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DATED this {3 day of Detober 2002
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